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                                                                        August 17, 2021



         VIA ECF

         The Honorable John G. Koeltl
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl Street
         New York, New York 10007-1312

                  Re:         Roche Cyrulnik Freedman LLP v. Cyrulnik, Case No. 1:21-cv-01746 (JGK)

         Dear Judge Koeltl:

                 We represent defendant Jason Cyrulnik and write to respond briefly to the letter filed by
         plaintiff Roche Cyrulnik Freedman LLP (“RCF”) on August 16, 2021 (Dkt. No. 43). Although
         we do not object to RCF’s request for an order temporarily sealing Cyrulnik’s motion to dismiss
         until RCF has an opportunity to file a motion to seal, we once again feel compelled to correct
         certain misstatements that RCF insists on repeating notwithstanding that Cyrulnik already
         corrected them earlier in this case (Dkt. Nos. 28-29).

                 First, RCF again states that Cyrulnik “refused” to agree to RCF’s request to seal portions
         of the record in the Florida action. That is false. In response to the request of RCF and its co-
         defendants in the Florida action to seal large portions of the pleading, Cyrulnik specifically agreed
         that he would not oppose the sealing of certain portions of the record, and asked RCF for
         information necessary to show there was a valid legal basis for sealing other portions in compliance
         with that court’s rules. RCF never bothered to provide that information.

                 Second, RCF’s suggestion that Cyrulnik acted improperly in light of the Florida court’s
         sealing order is contradicted by RCF’s own actions. In the order, the Florida court directed RCF
         to meet and confer with Cyrulnik to determine which portion of the record should be redacted. It
         took RCF more than seven weeks to provide proposed redactions, to which Cyrulnik agreed not to
         object, and the portions of the record that RCF claims were confidential remained unsealed on the
         public docket in the Florida action until at least June 24, 2021, confirming that RCF sought sealing
         in that case (and seeks sealing here) simply as a means to malign Cyrulnik’s professional
         reputation, and not to protect any information that it actually believes is confidential. In any event,
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Cyrulnik’s motion to dismiss the amended complaint redacted the information that RCF maintains
is confidential.

       We are available should the Court have any questions about this matter.

                                                   Respectfully,

                                                   /s/ Gavin D. Schryver

                                                   Gavin D. Schryver

cc:    Counsel of Record (via ECF)
